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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

IN RE:                                             :          CASE NO. 21-54552-BEM
                                                   :
DAVID ESCOBEDO HIDALGO,                            :          CHAPTER 7
                                                   :
         Debtor.                                   :
                                                   :
                                                   :
S. GREGORY HAYS,                                   :
Chapter 7 Trustee for the Estate of                :
David Escobedo Hidalgo,                            :
                                                   :
         Plaintiff,                                :
                                                   :
vs.                                                :          ADV. PRO. NO.
                                                   :
CALIBER HOME LOANS, INC. and                       :
FREEDOM MORTGAGE CORPORATION,                      :
                                                   :
         Defendants.                               :
                                                   :


                                           COMPLAINT

         S. Gregory Hays, Chapter 7 Trustee (“Trustee” or “Plaintiff”) for the bankruptcy estate

(the “Bankruptcy Estate”) of David Escobedo Hidalgo (“Debtor”), files this Complaint (the

“Complaint”) against Caliber Home Loans, Inc. (“Caliber”) and Freedom Mortgage

Corporation (“Freedom” and with Caliber, the “Defendants”), and respectfully shows the Court

as follows:

                                       Jurisdiction and Venue

         1.        This adversary proceeding is initiated pursuant to Rule 7001(a) of the Federal

Rules of Bankruptcy Procedure and 11 U.S.C. §§ 544, 550, and 551.

         2.        Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409(a) because




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this adversary proceeding arises in and relates to the Chapter 7 bankruptcy case styled as In re

David Escobedo Hidalgo, Case No. 21-54552-BEM (the “Bankruptcy Case”), pending in

United States Bankruptcy Court, Northern District of Georgia, Atlanta Division.

         3.    This adversary proceeding constitutes a core proceeding pursuant to 28 U.S.C. §

157(b)(2).

         4.    This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

§§ 1334 and 157.

         5.    Trustee consents to the entry of final orders or judgments by the Bankruptcy

Court pursuant to Bankruptcy Rule 7008 of the Federal Rules of Bankruptcy Procedure.

         6.    The Defendants are subject to the jurisdiction of this Court.

                                       Statement of Facts

                                     a. General Background

         7.    On June 15, 2021 (the “Petition Date”), Debtor filed a voluntary petition for

relief under Chapter 7 of Title 11 of United States Code, initiating the Bankruptcy Case as a

Chapter 7 proceeding.

         8.    Trustee was thereafter appointed to the Bankruptcy Case as the interim Chapter 7

Trustee under 11 U.S.C. § 701(a)(1).

         9.    At the conclusion of the meeting of creditors, Trustee became the permanent

Chapter 7 Trustee under 11 U.S.C. § 702(d).

                                         b. The Property

         10.   On the Petition Date, Debtor solely owned that certain real property commonly

known as 114 Truman Court, Jackson, Georgia 30233-5044 (the “Property”).




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                                 c. The Security Interest Transfer

         11.   On or about November 4, 2016, Debtor executed a Security Deed (the “Caliber

Security Deed”) in favor of Mortgage Electronic Registration Systems, Inc. (“MERS”) as

nominee for Caliber, conveying the Property to secure a debt (the “Caliber Debt”) in the amount

of $114,077.00 (the “First Transfer”).

         12.   The Security Deed was recorded on the real property records with the Clerk of the

Superior Court of Butts County, State of Georgia (the “Real Estate Records”) on November 9,

2016, beginning at page 469 of Deed Book 817 (the “Second Transfer”, and together with the

First Transfer, the “Transfers”).

         13.   A true and correct copy of the Caliber Security Deed, along with any riders, is

attached hereto and incorporated herein by reference as Exhibit “A.”

         14.   Upon information and belief, Caliber is the holder of the Caliber Security Deed

and any related interest in the Property arising out of the same.

         15.   Upon information and belief, Freedom is the servicer of the Caliber Debt.

         16.   The execution of the Caliber Security Deed by Debtor was not attested by an

official witness as required by O.C.G.A. § 44-14-61. This defect in attestation is apparent from

the face of the Caliber Security Deed.

         17.   In conjunction with executing the Caliber Security Deed, Debtor executed a rider

titled Waiver of Borrower’s Rights (the “Waiver”).

         18.   The Waiver appears at pages 484 of Deed Book 817 of the Real Estate Records.

         19.   The Waiver does not include the real property description or the address of the

Property.




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         20.       Also in conjunction with the execution of the Caliber Security Deed, a purported

closing attorney signed a Closing Attorney Affidavit (the “Affidavit”) in front of a purported

notary public named Christy Lunsford (the “Notary Public”).

         21.       The Affidavit appears at page 485 of Deed Book 817 of the Real Estate Records.

         22.       The Notary Public did not record on the Affidavit the exact date of her notarial

act.

         23.       The alleged closing attorney who signed the Affidavit was not an attesting witness

to the execution of the Caliber Security Deed by Debtor.

         24.       The purported closing attorney who purportedly signed the Affidavit did not act

as the notary public who certified Debtor’s alleged acknowledgment that he signed the Caliber

Security Deed on the Caliber Security Deed, which appears at Page 480 of Deed Book 817.

         25.       The Affidavit makes no mention of the genuineness of the handwriting of the

individual who purportedly executed the Caliber Security Deed and then signed his or her name

as a witness to that fact.

         26.       The Caliber Security Deed was not in recordable form, and, even though

recorded, does not provide actual or constructive notice to a bona fide purchaser.

                                               COUNT I

                      Claim to Avoid the Transfers under 11 U.S.C. § 544(a)(3)

             27.   Trustee hereby re-alleges and incorporates paragraphs 1 through 26 of this

Complaint as if the same were set forth verbatim herein.

         28.       The Caliber Security Deed is patently defective because Debtor’s execution of the

Caliber Security Deed is not attested to by an official witness.




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         29.   Because of this patent defect, the Caliber Security Deed does not provide Trustee,

in his role as a hypothetical bona fide purchaser, notice of any security interest. See U.S. Bank

Nat’l Ass’n v. Gordon, 289 Ga. 12, 17 (2011); Wells Fargo Bank. N.A. v. Gordon, 292 Ga. 474,

477 (2013).

         30.   Trustee, in his role as a hypothetical bona fide purchaser of real property, has a

claim in the Debtor’s interest in the Property that is superior to the claim of Caliber, and Trustee

may avoid the Transfers under 11 U.S.C. § 544(a)(3).

                                            COUNT II

 Claim to Recover Caliber’s Interest, or its value, in the Property under 11 U.S.C. § 550(a)

         31.   Trustee hereby re-alleges and incorporates paragraphs 1 through 31 of this

Complaint as if the same were set forth verbatim herein.

         32.   Caliber is the initial transferee of an interest in the Property from Debtor, or

Caliber is the entity for whose benefit the Transfers were made.

         33.   Alternatively, Caliber is a mediate or immediate transferee of an interest in the

Property from Debtor.

         34.   Plaintiff is entitled to recover from Caliber its interest in the Property, the value of

the Transfers, or other appropriate relief, under 11 U.S.C. § 550.

                                            COUNT III

                  Claim for Preservation of Transfers under 11 U.S.C. § 551

         35.   Trustee hereby re-alleges and incorporates paragraphs 1 through 34 of this

Complaint as if the same were set forth verbatim herein.

         36.   The avoided Transfers are preserved automatically for the benefit of the

Bankruptcy Estate under 11 U.S.C. § 551.




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         WHEREFORE, Trustee prays the Court enter a judgment in favor of Trustee and against

the Defendants:

         a)     Avoiding the Transfers under 11 U.S.C. § 544(a)(3);

         b)     Ordering Caliber to turnover, deliver, and transfer its interest in the Property, or

the value of the same, to Trustee under 11 U.S.C. §550;

         c)     Preserving the Transfers for the benefit of the Bankruptcy Estate under 11 U.S.C.

§ 551; and

         d)     Granting such other and further relief that the Court deems just and proper.

         Respectfully submitted this 14th day of September, 2021.

                                              ARNALL GOLDEN GREGORY, LLP
                                              Attorneys for Chapter 7 Trustee

                                              By: /s/ Michael J. Bargar
                                                      Michael J. Bargar
                                                      Ga. Bar No. 645709
                                                      michael.bargar@agg.com

171 17th Street, N.W., Suite 2100
Atlanta, Georgia 30363
Telephone: (404) 873-7030
Facsimile: (404) 873-7031




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                            EXHIBIT “A” FOLLOWS




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